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UNITED STATES BANKRUPTCY COURT
EASTERN DIS'I`RICT OF NEW YORK

 

ln re:
Chapter ll

600 TRIANGLE LLC,
Case No.: 18- 77139-_rig

Debtor.
x

 

DECLARATION OF STEPHAN GARBER UNDER LOCAL
RULE 1007-4 IN CONNECTlON WITH CHAPTER ll FILING

STEPHAN GARBER declares under penalty of perjury pursuant to 28 U.S.C. § 1746 as
follows:

l. l am the Managing Member of 600 Triangle LLC (“600 Triangle” or, the
“Debtor”), the above-captioned debtor and debtor-in-possession.

2. On October 22, 2018 (the “Petition Date”) the Debtor filed a voluntary petition
for relief under chapter ll, title ll, United States Code (the “Bankruptcy Codc”) with this
Court.

3. l submit this declaration under Rule 1007-4 of the Local Bankruptcy Rules for the
United States Barikruptcy Court for the Eastem District of New Vork, in support of the Debtor’s
voluntary petition for relief under chapter l l of the Bankruptcy Code.

Debtor’s Business and Ogeratlons

4. The Debtor owns a vacant lot located on the Roosevelt Field Ring Road North in
Nassau County, bearing section 44, block 77, lot l6B (the “Property”) which it purchased in
March 2002.

5. The Debtor is a privately held limited liability company organized under the laws
of the State of New York. The members of the Debtor with respective membership interests are

as follows:

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Garden Realty Inc. l%
Bennet H. Grutman 25%
Milton Koenigsberg 25%
Joan Polimeni 19%
Stephan Garber 5%
Scott Mauir 5%
Michael Polimeni 20%
Reasons for Filing

6. The primary reason for the Debtor’s bankruptcy filing is because the Debtor seeks

to resolve any and all outstanding tax claims against it.
Assets and Liabilitles

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7. As of the Petition Date, the Debtor’s only assets are the Property and its books
and records. The Debtor’s books and records are located at 600 Old Country Road, Suite 425,
Garden City, New York 1 1530.

8. There are no consensual or judgment liens against the Property.

9. At this time, no property of the Debtor is in the possession or custody and control

of` any public ofhcer, receiver, trustee or assignee for the benefit of` creditors

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Liabilities

lO. As of the Petition Date, the Debtor’s obligations were comprised of
$1,283,561 .97 allegedly owed to the County of Nassau, Office of _the County Treasurer, and an
unknown amount allegedly owed to the lncorporated Village of Garden City. The Debtor
scheduled each of those claims as being disputed, contingent, and unliquidated

ll. The Debtor is currently a holding company for the Property and has no
employees Accordingly, it has no payroll expenses
Proiected Four Week Revenues and Exgenses

12. The Debtor’s asset is a vacant lot that is not anticipated to generate revenue
during this case.

l3. The Debtor estimates that its general operating expenses for the first four (4)
weeks of the case will total $0.00. 'l`he Debtor’s Propcrty is covered by a general insurance
policy.

l4. The Debtor intends to restructure its liabilities in chapter ll. The relief sought by
the Debtor at this time merely preserves the status quo as it existed immediately prior to the
Petition Date.

15. The Debtor believes that with the protection of this Court, it will be able to
preserve its property and its business as a going concern through a feasible and confirmable plan
of reorganization

Information Requlred Bv Local Rulc 1007-4

 

16. lt is my understanding that Local Rule 1007-4 requires the Debtor to disclose
certain information relating to its assets, liabilities and financial condition. Except for

information reflected above, the Debtor continues to gather that required information. The

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undersigned will amend this Declaration promptly upon determination of further information
required under Local Rulc 1007-4.

Datedl Garden City , New York
October 22, 2018

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Stephan Garber, Managing Member

